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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1
MCMANIMON, SCOTLAND & BAUMANN, LLC
427 Riverview Plaza
Trenton, NJ 08611
609.695.6070
Proposed Attorneys for Chapter 7 Trustee,
Barry R. Sharer
                                                        Case No.:              19-27202 (KCF)
In Re:
                                                        Judge:             Kathryn C. Ferguson
D’ESPOSITO, JR., John Thomas,
                                                        Chapter:                    7
                   Debtor.




              Recommended Local Form:                      Followed               Modified




                  APPLICATION FOR RETENTION OF PROFESSIONAL
              AND CERTIFICATE OF COMPLIANCE WITH D.N.J. LBR 2014(a)

         1.   The applicant,            Barry Sharer                               , is the

                    Trustee:                Chap. 7          Chap. 11          Chap. 13.

                    Debtor:                  Chap. 11               Chap. 13

                    Official Committee of



         2.   The applicant seeks to retain the following professional McManimon, Scotland &

              Baumann, LLC

              to serve as:

                    Attorney for:            Trustee                Debtor-in-Possession

                                             Official Committee of
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                        Accountant for:           Trustee             Debtor-in-Possession

                                                  Official Committee of


                        Other Professional:

                                                  Realtor           Appraiser                Special Counsel

                                                  Auctioneer              Other (specify):



         3.       The employment of the professional is necessary because:
                   The Trustee needs the assistance of counsel to represent and assist him in the
                  investigation of the debtor’s affairs.


         4.       The professional has been selected because:
                  The professional has been selected because the attorneys there have considerable
                  experience in the field of bankruptcy, debtor-creditor rights, and asset liquidation. The
                  applicant believes that McManimon, Scotland & Baumann, LLC is well qualified to
                  represent him in this proceeding.


         5.       The professional services to be rendered are as follows:
                  a. advising the Trustee with respect to his powers and duties;

                  b. assisting in the identifying, marshalling and liquidating of the assets of the Debtors;

                  c. prosecuting any claims which may arise in connection with this Chapter 7
                       proceeding; and

                  d. performing such other legal services for the Trustee as may be necessary and
                       appropriate herein.




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         6.       The proposed arrangement for compensation is as follows:
                   The retained professional will be required to submit an application for fees and upon
                  completion of the services requested, to be approved by Order of the Court.




         7.       To the best of the applicant's knowledge, the professional's connection with the
                  debtor, creditors, any other party in interest, their respective attorneys and
                  accountants, the United States trustee, or any person employed in the office of the
                  United States trustee, is as follows:

                         None

                         Describe connection:


         8.       To the best of the applicant's knowledge, the professional (check all that apply):

                         does not hold an adverse interest to the estate.

                         does not represent an adverse interest to the estate.

                         is a disinterested person under 11 U.S.C. § 101(14).

                         does not represent or hold any interest adverse to the debtor or the estate with

                         respect to the matter for which he/she will be retained under 11 U.S.C. § 327(e).

                         Other; explain:




         9.       If the professional is an auctioneer, appraiser or realtor, the location and
                  description of the property is as follows:




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              Wherefore, the applicant respectfully requests authorization to employ the professional to

render services in accordance with this application, with compensation to be paid as an

administrative expense in such amounts as the Court may hereafter determine and allow.



Date: 11/19/2019                                                 /s/ Barry Sharer
                                                              Signature of Applicant


                                                              Barry Sharer, Chapter 7 Trustee
                                                              Name of Applicant




                                                              MCMANIMON, SCOTLAND &
                                                              BAUMANN, LLC


Date: 11/19/2019                                              /s/ Andrea Dobin
                                                              Andrea Dobin




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